Case: 2:15-cv-02830-JLG-CMV Doc #: 137 Filed: 03/05/18 Page: 1 of 3 PAGEID #: 2216




                         UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

John Doe,                                :

         Plaintiff.                      :       Case No. 2:15-cv-02830

vs.                                      :       Judge James L. Graham

The Ohio State University, et al.,       :       Magistrate Chelsey Vascura

         Defendant.                      :

             JOINT MOTION OF PARTIES TO VACATE CASE SCHEDULING ORDER

         Plaintiff and Defendants Javaune Adams-Gaston, Kellie Brennan, Natalie

Spiert and Matthew Page, by and through counsel, request this Honorable Court to

vacate the Final Pretrial and Trial Dates set via this Court’s Order of April 4, 2017

(ECF #105). The Final Pretrial Conference is currently set for April 13, 2018 and

the Trial is set for May 14, 2018.

         First, the parties are working with the Magistrate Judge Vascura to schedule a

mediation conference in April with retired Magistrate Judge Terence Kemp. The

mediation has been tentatively set for April 26.

         Second, pending before the Court are Defendants’ Motion for Summary

Judgment on Plaintiff’s Due Process claims (ECF #115) and Defendants’ Motion to

Dismiss Plaintiff’s Title IX claims (ECF # 131).

         Last, there has been no discovery conducted on Plaintiff’s Second Amended

Complaint per this Court’s Order of June 19, 2017 (ECF # 118). That Order directed

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Case: 2:15-cv-02830-JLG-CMV Doc #: 137 Filed: 03/05/18 Page: 2 of 3 PAGEID #: 2217



Plaintiff to submit a discovery plan to the Court. The Plaintiff did so on June 16,

2017 (ECF # 124). The Court, however, has not yet set the scope of discovery on

Plaintiff’s Second Amended Complaint, so no discovery has been conducted.

Therefore, the Parties will not be prepared to proceed to trial in May.

         WHEREFORE, Plaintiff and Defendants Javaune Adams-Gaston, Kellie

Brennan, Natalie Spiert and Matthew Page, by and through counsel, request this

Honorable Court to vacate the Final Pretrial and Trial Dates set via this Court’s

Order of April 4, 2017 (ECF #105) and reset the dates pending the decisions on the

currently pending motions and the Parties’ mediation conference.

                                        Respectfully submitted,

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Case: 2:15-cv-02830-JLG-CMV Doc #: 137 Filed: 03/05/18 Page: 3 of 3 PAGEID #: 2218




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